B1 (Official Form 1) (12/11)          Case 12-31792-AJC Doc 1 Filed 09/11/12                                                      Page 1 of 43
                                     United States Bankruptcy Court                                                                              Voluntary Petition
                                      Southern District of Florida

 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   Thulin, John, Gunnar                                                                           Bertoli, Lilian, Clarisa
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                  Lilian Clarisa Bertoli Thulin
Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more            Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more than
than one, state all):      9278                                                                  one, state all):           6543
 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   8080 Tatum Waterway Dr. Apt. 4                                                                 8080 Tatum Waterway Dr., Apt. 4
   Miami, FL                                                                                      Miami, FL
                                                             ZIP CODE          33141                                                                          ZIP CODE           33141
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
   Miami-Dade                                                                                     Miami-Dade
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):

                                                             ZIP CODE                                                                                         ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                              ZIP CODE
                       Type of Debtor                                          Nature of Business                               Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)                                                   the Petition is Filed (Check one box)
                       (Check one box.)
                                                                     Health Care Business                                 Chapter 7                        Chapter 15 Petition for
        Individual (includes Joint Debtors)                          Single Asset Real Estate as defined in 11                                             Recognition of a Foreign
                                                                                                                          Chapter 9
        See Exhibit D on page 2 of this form.                        U.S.C. § 101(51B)                                                                     Main Proceeding
        Corporation (includes LLC and LLP)                           Railroad                                            Chapter 11
                                                                                                                                                           Chapter 15 Petition for
        Partnership                                                  Stockbroker                                         Chapter 12                        Recognition of a Foreign
        Other (If debtor is not one of the above entities,           Commodity Broker                                                                      Nonmain Proceeding
                                                                     Clearing Bank                                       Chapter 13
        check this box and state type of entity below.)
        _____________________                                        Other

                    Chapter 15 Debtors                                        Tax-Exempt Entity                                               Nature of Debts
                                                                            (Check box, if applicable)                                          (Check one box)
Country of debtor's center of main interests:
                                                                        Debtor is a tax-exempt organization              Debts are primarily consumer                  Debts are primarily
                                                                        under Title 26 of the United States              debts, defined in 11 U.S.C.                   business debts.
Each country in which a foreign proceeding by, regarding,               Code (the Internal Revenue Code.)                § 101(8) as “incurred by an
or against debtor is pending:                                                                                            individual primarily for a
                                                                                                                         personal, family, or house-
                                                                                                                         hold purpose.”
                                  Filing Fee (Check one box)                                                                          Chapter 11 Debtors
                                                                                                     Check one box:
      Full Filing Fee attached
                                                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
      Filing Fee to be paid in installments (applicable to individuals only). Must attach                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
      signed application for the court's consideration certifying that the debtor is                 Check if:
      unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                           insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                         4/01/13 and every three years thereafter).
      attach signed application for the court's consideration. See Official Form 3B.                 Check all applicable boxes
                                                                                                           A plan is being filed with this petition
                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                           of creditors, in accordance with 11 U.S.C. § 1126(b).

 Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR
                                                                                                                                                                          COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-           50-          100-         200-        1,000-       5,001-       10,001-     25,001-        50,001-     Over
 49           99           199          999         5,000        10,000       25,000      50,000         100,000     100,000
 Estimated Assets

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001                 $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500                      to $1 billion    billion
                                          million     million    million     million     million
 Estimated Liabilities

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001
                                                                                                                      $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500
                                                                                                                      to $1 billion    billion
                                          million     million    million     million     million
B1 (Official Form 1) (12/11)             Case 12-31792-AJC                          Doc 1          Filed 09/11/12                  Page 2 of 43                              FORM B1, Page 2
Voluntary Petition                                                                               Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                 John Gunnar Thulin, Lilian Clarisa Bertoli
                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                              Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                      Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.                                     X /s/ Kathe Kozlowski, Esq                                 9/11/2012
                                                                                                        Signature of Attorney for Debtor(s)                      Date
                                                                                                        Kathe Kozlowski, Esq                                    0745448
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
       No

                                                                                           Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                     (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B1 (Official Form 1) (12/11)           Case 12-31792-AJC                          Doc 1         Filed 09/11/12                 Page 3 of 43                           FORM B1, Page 3
Voluntary Petition                                                                            Name of Debtor(s):
  (This page must be completed and filed in every case)                                       John Gunnar Thulin, Lilian Clarisa Bertoli

                                                                                      Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                      Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true     I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                  and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has              and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such        (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                    I request relief in accordance with chapter 15 of Title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I             Certified Copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                    Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code, specified         chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                  order granting recognition of the foreign main proceeding is attached.

   X s/ John Gunnar Thulin                                                                    X Not Applicable
       Signature of Debtor        John Gunnar Thulin                                              (Signature of Foreign Representative)

   X s/ Lilian Clarisa Bertoli
       Signature of Joint Debtor Lilian Clarisa Bertoli                                           (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       9/11/2012                                                                                  Date
       Date
                                   Signature of Attorney                                                           Signature of Non-Attorney Petition Preparer
  X /s/ Kathe Kozlowski, Esq                                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
      Signature of Attorney for Debtor(s)
                                                                                              in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided the
                                                                                              debtor with a copy of this document and the notices and information required under 11
      Kathe Kozlowski, Esq Bar No. 0745448                                                    U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
      Printed Name of Attorney for Debtor(s) / Bar No.                                        promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable
                                                                                              by bankruptcy petition preparers, I have given the debtor notice of the maximum amount
      Kathe Kozlowski LLC                                                                     before preparing any document for filing for a debtor or accepting any fee from the debtor,
                                                                                              as required in that section. Official Form 19 is attached.
      Firm Name
      P.O. Box 1364 DeFuniak Springs, FL 32435
      Address                                                                                     Not Applicable
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer


      305-661-3671                                      305-668-0542
                                                                                                 Social-Security number (If the bankruptcy petition preparer is not an individual, state
      Telephone Number                                                                           the Social-Security number of the officer, principal, responsible person or partner of
      9/11/2012                                                                                  the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

      Date
      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a              Address
      certification that the attorney has no knowledge after an inquiry that the
      information in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)
                                                                                              X Not Applicable
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the             Date
 debtor.
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                 partner whose Social-Security number is provided above.
 The debtor requests the relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.                                                               Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                                 in preparing this document unless the bankruptcy petition preparer is not an
 X Not Applicable                                                                                individual.
     Signature of Authorized Individual                                                          If more than one person prepared this document, attach to the appropriate official form
                                                                                                 for each person.

     Printed Name of Authorized Individual                                                       A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                                 the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                                 both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Title of Authorized Individual


      Date
                                   Case 12-31792-AJC                     Doc 1        Filed 09/11/12              Page 4 of 43


B6 Summary (Official Form 6 - Summary) (12/07)

                                                           United States Bankruptcy Court
                                                               Southern District of Florida


In re John Gunnar Thulin            Lilian Clarisa Bertoli                             ,                    Case No.
                                                               Debtors
                                                                                                            Chapter       7

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                     ATTACHED        NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                        0       $                   0.00

 B - Personal Property                        YES                        2       $              7,570.54

 C - Property Claimed
     as Exempt                                YES                        0

 D - Creditors Holding                        YES                        0                                    $                     0.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                        0                                    $                      0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                        5                                    $               390,558.60
     Nonpriority Claims

 G - Executory Contracts and                  YES                        0
     Unexpired Leases

 H - Codebtors                                YES                        0

 I - Current Income of                                                                                                                         $            4,524.74
     Individual Debtor(s)                     YES                        0

 J - Current Expenditures of                  YES                        2
     Individual Debtor(s)                                                                                                                      $            4,515.00

                                                                         9       $             7,570.54       $           390,558.60
                                    TOTAL
                               Case 12-31792-AJC                      Doc 1       Filed 09/11/12          Page 5 of 43
Form 6 - Statistical Summary (12/07)

                                                       United States Bankruptcy Court
                                                         Southern District of Florida

In re   John Gunnar Thulin         Lilian Clarisa Bertoli                           ,
                                                                                                       Case No.
                                                                Debtors                                Chapter    7


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                            Amount
 Domestic Support Obligations (from Schedule E)                               $    0.00
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                  $    0.00
 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)               $    0.00
 Student Loan Obligations (from Schedule F)                                   $    0.00
 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                      $    0.00
 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                            $    0.00
                                                                TOTAL         $    0.00
State the following:

 Average Income (from Schedule I, Line 16)                                    $    4,524.74
 Average Expenses (from Schedule J, Line 18)                                  $    4,515.00
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                          $    5,416.67

State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                                   $     0.00
 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                      $    0.00
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                                    $     0.00
 4. Total from Schedule F                                                                          $     390,558.60
 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $     390,558.60
                  Case 12-31792-AJC                Doc 1      Filed 09/11/12          Page 6 of 43
B 1D (Official Form 1, Exhibit D) (12/09)

                                  UNITED STATES BANKRUPTCY COURT
                                          Southern District of Florida


         In re   John Gunnar Thulin Lilian Clarisa Bertoli                          Case No.
                          Debtor(s)                                                                    (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 14 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
                  Case 12-31792-AJC               Doc 1      Filed 09/11/12          Page 7 of 43
B 1D (Official Form 1, Exh. D) (12/09) – Cont.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
         unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
         through the Internet.);
                       Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ John Gunnar Thulin
                     John Gunnar Thulin

Date: 9/11/2012
                  Case 12-31792-AJC                Doc 1      Filed 09/11/12          Page 8 of 43
B 1D (Official Form 1, Exhibit D) (12/09)

                                  UNITED STATES BANKRUPTCY COURT
                                          Southern District of Florida


         In re   John Gunnar Thulin Lilian Clarisa Bertoli                          Case No.
                         Debtor(s)                                                                     (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 14 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
                  Case 12-31792-AJC               Doc 1      Filed 09/11/12          Page 9 of 43
B 1D (Official Form 1, Exh. D) (12/09) – Cont.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
         unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
         through the Internet.);
                       Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Lilian Clarisa Bertoli
                     Lilian Clarisa Bertoli

Date: 9/11/2012
                                 Case 12-31792-AJC           Doc 1     Filed 09/11/12                               Page 10 of 43
B6A (Official Form 6A) (12/07)

In re:   John Gunnar Thulin       Lilian Clarisa Bertoli                                                                  Case No.
                                                                         ,
                                                                                                                                                      (If known)
                                                  Debtors


                                        SCHEDULE A - REAL PROPERTY




                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                          CURRENT VALUE
                                                                                                                           OF DEBTOR'S




                                                                                         OR COMMUNITY
                                                                                                                            INTEREST IN
               DESCRIPTION AND                                                                                          PROPERTY, WITHOUT                    AMOUNT OF
                                                        NATURE OF DEBTOR'S                                                DEDUCTING ANY
                 LOCATION OF                                                                                                                                  SECURED
                                                       INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                                     CLAIM
                                                                                                                           OR EXEMPTION




  NONE



                                                                              Total                              0.00
                                                                                                             (Report also on Summary of Schedules.)
                                      Case 12-31792-AJC                 Doc 1      Filed 09/11/12       Page 11 of 43
B6B (Official Form 6B) (12/07)

In re      John Gunnar Thulin                Lilian Clarisa Bertoli                    ,                Case No.
                                                                                                                                          (If known)
                                                                 Debtors


                                           SCHEDULE B - PERSONAL PROPERTY




                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                           CURRENT VALUE OF




                                                                                                                     OR COMMUNITY
                                                                                                                                           DEBTOR'S INTEREST
                                                                                                                                           IN PROPERTY, WITH-



                                                     NONE
                                                                           DESCRIPTION AND LOCATION                                        OUT DEDUCTING ANY
               TYPE OF PROPERTY                                                  OF PROPERTY                                                  SECURED CLAIM
                                                                                                                                              OR EXEMPTION




  1. Cash on hand                                    X
  2. Checking, savings or other financial                   Citibank checking account #..990                            J                               111.68
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
        Checking, savings or other financial                Citibank Saving account #..009                              J                                30.23
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
        Checking, savings or other financial                Wells Fargo checking account #8226                          J                                36.63
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
  3. Security deposits with public utilities,               Apartment Security Deposit                                  J                               750.00
     telephone companies, landlords, and
     others.
        Security deposits with public utilities,            Cable Security Deposit                                      J                               200.00
        telephone companies, landlords, and
        others.
        Security deposits with public utilities,            FPL Secuurity deposit                                       J                               100.00
        telephone companies, landlords, and
        others.
  4. Household goods and furnishings,                       1 king bed, 1 coffee table, dining table/chair, 1           J                               800.00
     including audio, video, and computer
     equipment.                                             small table/ 4 chairs, 1 armoire, 1 mirror, assorted
                                                            books, assorted clothes, assorted housewares,
                                                            miscel hand tools: hammers, screw driver, 1 drill
                                                            (All in storage)
        Household goods and furnishings,                    1 rocker chair, 1 shelf, 1 queen bed, 1 coffee, 1 TV        J                               300.00
        including audio, video, and computer
        equipment.                                          1 table/4 chairs (all 2 yrs old)
                                                            Studio Apt
  5. Books, pictures and other art objects,          X
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                                       Personal clothing of the debtors                            J                               100.00
  7. Furs and jewelry.                               X
  8. Firearms and sports, photographic, and          X
     other hobby equipment.
  9. Interests in insurance policies. Name           X
     insurance company of each policy and
     itemize surrender or refund value of
     each.
 10. Annuities. Itemize and name each                X
     issuer.
                                     Case 12-31792-AJC                Doc 1         Filed 09/11/12    Page 12 of 43
B6B (Official Form 6B) (12/07) -- Cont.

In re      John Gunnar Thulin               Lilian Clarisa Bertoli                      ,             Case No.
                                                                                                                                        (If known)
                                                                Debtors


                                          SCHEDULE B - PERSONAL PROPERTY
                                                                          (Continuation Sheet)




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                         CURRENT VALUE OF




                                                                                                                   OR COMMUNITY
                                                                                                                                         DEBTOR'S INTEREST
                                                                                                                                         IN PROPERTY, WITH-



                                                    NONE
                                                                           DESCRIPTION AND LOCATION                                      OUT DEDUCTING ANY
               TYPE OF PROPERTY                                                  OF PROPERTY                                                SECURED CLAIM
                                                                                                                                            OR EXEMPTION




 11. Interests in an education IRA as defined       X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other       X
     pension or profit sharing plans. Give
     particulars.
 13. Stock and interests in incorporated and               Travel by Bus! LLC                                       H                                   0.00
     unincorporated businesses. Itemize.
                                                           Manager of business; no ownership interest
 14. Interests in partnerships or joint             X
     ventures. Itemize.
 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other                 X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.
 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other              1987 Dodge Ram, milage 500,000 + miles                   H                                 100.00
     vehicles and accessories.
                                                           No book value
        Automobiles, trucks, trailers, and other           2003 Golf GTI- VW, 130,000+ fair                        W                                 4,032.00
        vehicles and accessories.
                                  Case 12-31792-AJC                  Doc 1        Filed 09/11/12    Page 13 of 43
B6B (Official Form 6B) (12/07) -- Cont.

In re   John Gunnar Thulin                Lilian Clarisa Bertoli                      ,             Case No.
                                                                                                                                          (If known)
                                                              Debtors


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                        (Continuation Sheet)




                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                           CURRENT VALUE OF




                                                                                                                     OR COMMUNITY
                                                                                                                                           DEBTOR'S INTEREST
                                                                                                                                           IN PROPERTY, WITH-



                                                  NONE
                                                                         DESCRIPTION AND LOCATION                                          OUT DEDUCTING ANY
            TYPE OF PROPERTY                                                   OF PROPERTY                                                    SECURED CLAIM
                                                                                                                                              OR EXEMPTION




 25. Automobiles, trucks, trailers, and other            2009 Honda NPS50 scooter                                       J                                1,010.00
     vehicles and accessories.
                                                         3,200 miles, good condition
 26. Boats, motors, and accessories.              X
 27. Aircraft and accessories.                    X
 28. Office equipment, furnishings, and           X
     supplies.
 29. Machinery, fixtures, equipment and           X
     supplies used in business.
 30. Inventory.                                   X
 31. Animals.                                     X
 32. Crops - growing or harvested. Give           X
     particulars.
 33. Farming equipment and implements.            X
 34. Farm supplies, chemicals, and feed.          X
 35. Other personal property of any kind not      X
     already listed. Itemize.

                                                         2   continuation sheets attached                  Total                                       $ 7,570.54

                                                                                                               (Include amounts from any continuation sheets
                                                                                                               attached. Report total also on Summary of
                                                                                                               Schedules.)
                              Case 12-31792-AJC                   Doc 1     Filed 09/11/12            Page 14 of 43
B6C (Official Form 6C) (4/10)


In re   John Gunnar Thulin          Lilian Clarisa Bertoli                                              Case No.
                                                                                           ,
                                                                                                                                 (If known)
                                                              Debtors



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:                 Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                 $146,450.*
   11 U.S.C. § 522(b)(2)
   11 U.S.C. § 522(b)(3)


                                                                                                VALUE OF                       CURRENT
                                                           SPECIFY LAW
                                                                                                CLAIMED                   VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                               EXEMPTION                  WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                              EXEMPTION


1 king bed, 1 coffee table,                 Art. 10 § 4(a)(2), FSA § 222.061                           800.00                                   800.00
dining table/chair, 1 small
table/ 4 chairs, 1 armoire, 1
mirror, assorted books,
assorted clothes, assorted
housewares, miscel hand
tools: hammers, screw driver,
1 drill
(All in storage)
1 rocker chair, 1 shelf, 1 queen            Art. 10 § 4(a)(2), FSA § 222.061                           300.00                                   300.00
bed, 1 coffee, 1 TV 1 table/4
chairs (all 2 yrs old)
Studio Apt
1987 Dodge Ram, milage                      FSA § 222.25(1)                                            100.00                                   100.00
500,000 + miles
No book value
2003 Golf GTI- VW, 130,000+                 FSA § 222.25(4)                                          3,032.00                                 4,032.00
fair
                                            FSA § 222.25(1)                                          1,000.00

2009 Honda NPS50 scooter                    FSA § 222.25(4)                                          1,010.00                                 1,010.00
3,200 miles, good condition
Apartment Security Deposit                  FSA § 222.25(4)                                            750.00                                   750.00

Cable Security Deposit                      FSA § 222.25(4)                                            200.00                                   200.00

Citibank checking account                   FSA § 222.11(2)(a)                                         111.68                                   111.68
#..990
Citibank Saving account #..009              FSA § 222.11(2)(a)                                          30.23                                    30.23

FPL Secuurity deposit                       FSA § 222.25(4)                                            100.00                                   100.00

Personal clothing of the                    Art. 10 § 4(a)(2), FSA § 222.061                           100.00                                   100.00
debtors
Wells Fargo checking account                FSA § 222.11(2)(a)                                          36.63                                    36.63
#8226

* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                 Case 12-31792-AJC                                             Doc 1          Filed 09/11/12    Page 15 of 43
B6D (Official Form 6D) (12/07)


 In re   John Gunnar Thulin         Lilian Clarisa Bertoli                                                     ,
                                                                                                                           Case No.

                                                         Debtors                                                                                                            (If known)


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                      HUSBAND, WIFE, JOINT
               CREDITOR'S NAME AND                                                                       DATE CLAIM WAS                                                     AMOUNT OF
                                                                                                                                                                                                       UNSECURED




                                                                                                                                               UNLIQUIDATED
                                                                        OR COMMUNITY
                 MAILING ADDRESS                                                                        INCURRED, NATURE                                                   CLAIM WITHOUT




                                                                                                                                  CONTINGENT
                                                           CODEBTOR
                                                                                                                                                                                                       PORTION, IF




                                                                                                                                                              DISPUTED
             INCLUDING ZIP CODE AND                                                                        OF LIEN, AND                                                      DEDUCTING
               AN ACCOUNT NUMBER                                                                         DESCRIPTION AND                                                      VALUE OF                    ANY
              (See Instructions, Above.)                                                               VALUE OF PROPERTY                                                    COLLATERAL
                                                                                                         SUBJECT TO LIEN


 ACCOUNT NO.
                                                                                             __________________________
 NONE
                                                                                             VALUE




 0        continuation sheets
          attached
                                                                                             Subtotal
                                                                                             (Total of this page)
                                                                                                                                                                           $                 0.00 $                  0.00



                                                                                             Total                                                                         $                 0.00 $                 0.00
                                                                                             (Use only on last page)


                                                                                                                                                                         (Report also on Summary of (If applicable, report
                                                                                                                                                                         Schedules)                 also on Statistical
                                                                                                                                                                                                    Summary of Certain
                                                                                                                                                                                                    Liabilities and
                                                                                                                                                                                                    Related Data.)
                                     Case 12-31792-AJC                    Doc 1       Filed 09/11/12                Page 16 of 43
B6E (Official Form 6E) (4/10)

In re       John Gunnar Thulin           Lilian Clarisa Bertoli                          ,                              Case No.
                                                                Debtors                                                                              (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals

      Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

        * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


                                                                    1 continuation sheets attached
                                   Case 12-31792-AJC                                          Doc 1            Filed 09/11/12                                         Page 17 of 43
B6E (Official Form 6E) (4/10) – Cont.


In re     John Gunnar Thulin            Lilian Clarisa Bertoli                                                                                                             Case No.
                                                                                                                  ,                                                                                 (If known)
                                                                   Debtors


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                 (Continuation Sheet)




                                                                   HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                               AMOUNT            AMOUNT          AMOUNT




                                                                     OR COMMUNITY




                                                                                                                                                UNLIQUIDATED
                                                                                                                                   CONTINGENT
                                                        CODEBTOR




                                                                                                                                                               DISPUTED
              MAILING ADDRESS                                                                 INCURRED AND                                                                OF CLAIM        ENTITLED TO         NOT
            INCLUDING ZIP CODE,                                                              CONSIDERATION                                                                                 PRIORITY       ENTITLED TO
           AND ACCOUNT NUMBER                                                                   FOR CLAIM                                                                                                 PRIORITY, IF
           (See instructions above.)                                                                                                                                                                          ANY



 ACCOUNT NO.
                                                                                                                                                                                                                 $0.00




                                                                                                                                  Subtotals                       $
Sheet no. 1 of 1 continuation sheets attached to Schedule of                                                          (Totals of this page)
                                                                                                                                                                              0.00 $             0.00 $            0.00
Creditors Holding Priority Claims


                                                                                                                                 Total
                                                                                          (Use only on last page of the completed
                                                                                          Schedule E. Report also on the Summary of
                                                                                                                                                                 $            0.00
                                                                                          Schedules.)
                                                                                                                                   Total
                                                                                          (Use only on last page of the completed                                                     $          0.00 $            0.00
                                                                                          Schedule E. If applicable, report also on the
                                                                                          Statistical Summary of Certain Liabilities
                                                                                          and Related Data. )
                                   Case 12-31792-AJC                                            Doc 1           Filed 09/11/12                  Page 18 of 43
B6F (Official Form 6F) (12/07)

In re    John Gunnar Thulin             Lilian Clarisa Bertoli                                                                             Case No.
                                                                                                                  ,
                                                           Debtors                                                                                                              (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                        HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                                 DATE CLAIM WAS                                                                            AMOUNT OF




                                                                          OR COMMUNITY




                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                   CONTINGENT
                  MAILING ADDRESS                                                                                  INCURRED AND                                                                               CLAIM




                                                             CODEBTOR




                                                                                                                                                                                                 DISPUTED
                INCLUDING ZIP CODE,                                                                             CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                      CLAIM.
                (See instructions above.)                                                                      IF CLAIM IS SUBJECT TO
                                                                                                                  SETOFF, SO STATE

ACCOUNT NO.                                                                                                                                                                                                    20,000.00
 American Express                                                                                breach of contract
 P.O. Box 297812
 Fort Lauderdale, FL 33329-7812



 Borack & Associates P.A.
 630 N. Wymore Rd
 Suite 300
 Maitland, FL 32751
ACCOUNT NO.         **161**                                             H                        08/01/2010                                                                                                       377.00
 ARS Account Resolution                                                                          collection account
 1801 NW 66th Ave., Ste 200 C                                                                    Inphynet South Brown Inc
 Plantation, FL 33313-4571



ACCOUNT NO.         **0063**                                            H                        10/01/2009                                                                                                       202.00
 AT & T                                                                                          tele service
 P.O. Box 105262
 Atlanta, GA 30348-5262



 I.C. Systems Inc.
 444 Highway 96 E
 St. Paul, MN 55127-2557
ACCOUNT NO.         **9700**                                            W                        11/12/2010                                                                                                     4,273.00
 Bank of America                                                                                 revolving account
 P.O. Box 982235
 El Paso, TX 79998




                4    Continuation sheets attached

                                                                                                                                                                 Subtotal                           $          24,852.00



                                                                                                                                                                                                    $
                                                                                                                                                                          Total
                                                                                                                   (Use only on last page of the completed Schedule F.)
                                                                                               (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                      Summary of Certain Liabilities and Related Data.)
                                     Case 12-31792-AJC                                              Doc 1           Filed 09/11/12                  Page 19 of 43
B6F (Official Form 6F) (12/07) - Cont.

In re      John Gunnar Thulin             Lilian Clarisa Bertoli                                                                               Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                              (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                            AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                       CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                               CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                     DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.          **0431                                                W                        11/23/2010                                                                                                       891.00
 Cach, LLC                                                                                           collection account
 4340 S. Monaco, 2nd Fl                                                                              Metris
 Denver, CO 80237



 ACCOUNT NO.          **31**                                                H                        10/01/2007                                                                                                     1,252.00
 Capital Accounts LLC                                                                                collection account
 P.O. Box 140065                                                                                     Kid Town Pediatrics
 Nashville, TN 37214-0065



 ACCOUNT NO.                                                                H                        07/01/2012                                                                                                        65.00
 Carter Young Inc.                                                                                   collection account
 1500 Klondike RD                                                                                    Radiology Services of Hollywood
 Suite A-210
 Conyers, GA 33094


 ACCOUNT NO.          **1441**                                              H                        06/01/2006                                                                                                       985.00
 Cavalry Portfolio Services                                                                          collection account
 500 Summit Lake Drive                                                                               Ford credit
 Valhalla, NY 10585




                  4    Continuation sheets attached
Sheet no. 1 of 4 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $           3,193.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                              Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                                     Case 12-31792-AJC                                              Doc 1           Filed 09/11/12                  Page 20 of 43
B6F (Official Form 6F) (12/07) - Cont.

In re      John Gunnar Thulin             Lilian Clarisa Bertoli                                                                               Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                              (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                            AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                       CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                               CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                     DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.          Unit 1404                                             H                                                                                                                                      31,589.28
 Charter Club Condo Association                                                                      association fees
 c/o KW Property Management                                                                          600 NE 36 St., Apt 1404
 600 NE 36th Street                                                                                  Miami, FL (foreclosed)
 Miami, FL 33137

 KW Property Management & Consulting
 8200 NW 33rd St
 Suite 300
 Doral, FL 33122

 Daniel E. Jonas, P.A. R.A.
 Charter Club Inc.
 P.O. Box 415107
 Miami Beach, FL 33141-5107
 ACCOUNT NO.          **8463**                                              H                        02/01/2012                                                                                                       213.00
 Comcast                                                                                             cable service
 18601 NW 2nd Ave.
 Miami, FL 33169-4583



 Credit Protection
 P.O. Box 802068
 Dallas, TX 75380-2068
 ACCOUNT NO.                                                                H                                                                                                                                           0.00
 FMC - Omaha Service Ctr                                                                             Listed for Notice Purposes
 P.O. Box 542000                                                                                     Acct Sold to collection agent
 Omaha, NE 68154-8000




                  4    Continuation sheets attached
Sheet no. 2 of 4 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $          31,802.28
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                              Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                                     Case 12-31792-AJC                                              Doc 1           Filed 09/11/12                  Page 21 of 43
B6F (Official Form 6F) (12/07) - Cont.

In re      John Gunnar Thulin             Lilian Clarisa Bertoli                                                                               Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                              (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                            AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                       CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                               CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                     DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.          **0104**                                              W                        05/04/2010                                                                                                       824.00
 GECRB/ IKEA                                                                                         revolving account
 P.O. Boox 965005
 Orlando, FL 32896



 ACCOUNT NO.          **1026**                                              H                        01/01/2007                                                                                                     1,978.00
 Harley Davidson Financial                                                                           Installment account
 4150 Technology Way
 Carson City, NV 89706-2009



 ACCOUNT NO.          **6433**                                              W                        07/28/2010                                                                                                       976.00
 HSBC Card Services                                                                                  revolving account
 P.O. Box 80084
 Salinas, CA 93912-0084



 ACCOUNT NO.                                                     X H                                                                                                                                               59,396.94
 Ocean Bank                                                                                          deficiency judgment
 c/o Louis K. Nicholas, II Esq.
 Legal Department
 780 N.W. 42nd Ave. Suite 500
 Miami, FL 33135

 ACCOUNT NO.                                                                H                                                                                                                        X              5,200.00
 Safe Hurricane Shutters Inc. DBA                                                                    installment contract
 Advanced Hurricane Protection c/o
 Steven M. Rosen Esq.
 5601 Biscayne Blvd.
 Miami, FL 33137




                  4    Continuation sheets attached
Sheet no. 3 of 4 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $          68,374.94
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                              Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                                    Case 12-31792-AJC                                               Doc 1           Filed 09/11/12                  Page 22 of 43
B6F (Official Form 6F) (12/07) - Cont.

In re      John Gunnar Thulin             Lilian Clarisa Bertoli                                                                               Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                              (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                            AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                       CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                               CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                     DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.                                                                H                                                                                                                                      77,336.38
 Wachovia Bank NA                                                                                    breach of contract
 c/o Joe M. Eckelkamp, Esq                                                                           Equity Line
 P.O. Box 550858                                                                                     Case No 09-05904 CA 25
 Jacksonville, FL 32255

 Scott E. Simowitz, Esq
 800 Corporate Dr. Ste 500
 Fort Lauderdale, FL 33334
 ACCOUNT NO.                                                                H                                                                                                                                     185,000.00
 Wells Fargo                                                                                         listed for notice purpose
 P.O. Box 10475                                                                                      deficiency balance / potential
 Des Moines, IA 50306                                                                                tax liability



 Florida Defaulr Law Group, P.L.
 P.O. Box 25018
 Tampa. FL 33622-5018
 Att: Lindsey Lamb, Esq

 Law Offices of David B. Haber PA
 201 S Biscaybe Blvd. Ste 1205
 Miami, FL 33131-4332




                  4   Continuation sheets attached
Sheet no. 4 of 4 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $         262,336.38
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $          390,558.60
                                                                                                                                                                              Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                              Case 12-31792-AJC                   Doc 1       Filed 09/11/12         Page 23 of 43
B6G (Official Form 6G) (12/07)


In re:   John Gunnar Thulin         Lilian Clarisa Bertoli                          ,        Case No.
                                                        Debtors                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.
                            Case 12-31792-AJC               Doc 1   Filed 09/11/12     Page 24 of 43
B6H (Official Form 6H) (12/07)


In re: John Gunnar Thulin        Lilian Clarisa Bertoli                          Case No.
                                                                       ,                              (If known)
                                                      Debtors


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                   NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR


   Roberto Williamann                                                Ocean Bank
                                                                     c/o Louis K. Nicholas, II Esq.
                                                                     Legal Department
                                                                     780 N.W. 42nd Ave. Suite 500
                                                                     Miami, FL 33135
   Roberto Willimann
   Raymond Friedheim
                                 Case 12-31792-AJC                 Doc 1         Filed 09/11/12             Page 25 of 43
B6I (Official Form 6I) (12/07)

 In re     John Gunnar Thulin Lilian Clarisa Bertoli                                 ,                  Case No.
                                                                 Debtors                                                               (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       Married
                                                RELATIONSHIP(S):                                                                  AGE(S):
                                          Wife
                                          Daughter                                                                                                  20
 Employment:                                            DEBTOR                                                        SPOUSE
 Occupation                     General Manager                                                   Housewife
 Name of Employer               Travel By Bus LLC
 How long employed              4 yrs
 Address of Employer            Miami, Fl 33140
 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                    DEBTOR                          SPOUSE


 1. Monthly gross wages, salary, and commissions                                                    $                 5,416.67 $                         0.00
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                       $                      0.00 $                        0.00
 3. SUBTOTAL                                                                                        $                5,416.67      $                     0.00
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                       $                   891.93 $                         0.00
                                                                                                    $                     0.00 $                         0.00
         b. Insurance
         c. Union dues                                                                              $                     0.00 $                         0.00
         d. Other (Specify)                                                                         $                      0.00 $                        0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                  $                   891.93 $                         0.00
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                 4,524.74 $                         0.00
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                                $                      0.00 $                        0.00
 8. Income from real property                                                                       $                      0.00 $                        0.00
 9. Interest and dividends                                                                          $                      0.00 $                        0.00
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                              $                      0.00 $                        0.00
 11. Social security or other government assistance
 (Specify)                                                                                          $                      0.00 $                        0.00
 12. Pension or retirement income                                                                   $                      0.00    $                     0.00
 13. Other monthly income
 (Specify)                                                                                          $                      0.00 $                        0.00
 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                 $                     0.00    $                      0.00
 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                   $                 4,524.74 $                         0.00
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                    $ 4,524.74
 totals from line 15)
                                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                                 Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
  NONE
                              Case 12-31792-AJC       Doc 1    Filed 09/11/12   Page 26 of 43
B6I (Official Form 6I) (12/07) - Cont.
 In re   John Gunnar Thulin Lilian Clarisa Bertoli               ,          Case No.
                                                     Debtors                                    (If known)


         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                 Case 12-31792-AJC                 Doc 1        Filed 09/11/12             Page 27 of 43
B6J (Official Form 6J) (12/07)

  In re John Gunnar Thulin Lilian Clarisa Bertoli                                    ,                          Case No.
                                               Debtors                                                                             (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                   900.00
      a. Are real estate taxes included?          Yes                     No
       b. Is property insurance included?         Yes                     No
 2. Utilities: a. Electricity and heating fuel                                                                                $                   60.00
               b. Water and sewer                                                                                             $                    0.00
               c. Telephone                                                                                                   $                    0.00
               d. Other cable                                                                                                $                   110.00
                       cell phone                                                                                            $                     90.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                     5.00
 4. Food                                                                                                                      $                 1,200.00
 5. Clothing                                                                                                                  $                    25.00
 6. Laundry and dry cleaning                                                                                                  $                    85.00
 7. Medical and dental expenses                                                                                               $                     0.00
 8. Transportation (not including car payments)                                                                               $                   310.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                    50.00
10. Charitable contributions                                                                                                  $                    15.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                 a. Homeowner’s or renter’s                                                                                   $                     0.00
                 b. Life                                                                                                      $                     0.00
                 c. Health                                                                                                    $                    70.00
                 d. Auto                                                                                                      $                   136.00
                 e. Other                                                                                                     $                      0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                    $                      0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                       $                      0.00
                 b. Other                                                                                                     $                      0.00
 14. Alimony, maintenance, and support paid to others                                                                         $                     0.00
 15. Payments for support of additional dependents not living at your home                                                    $                     0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                     0.00
 17. Other Barber                                                                                                             $                     45.00
            car repair and maintenance / tags/ DL                                                                             $                    200.00
            Daughter's books / school supplies / ancillary expens                                                             $                    150.00
            Daughter's clothes / shoes/ personal care                                                                         $                    125.00
            Daughter's medical ins. deductible                                                                                $                     25.00
            Daughter's Prescription Medicine                                                                                  $                     59.00
            Dental expense 3 persons                                                                                          $                     40.00
            Eye exams / glasses x 3                                                                                           $                     60.00
            Gym membership                                                                                                    $                     80.00
            Hair Salon (2 persons)                                                                                            $                     80.00
            Husband's medical expenses (no insurance)                                                                         $                     40.00
            Meals away from home (3 persons)                                                                                  $                    160.00
            Prescription medicine (Husband)                                                                                   $                     45.00
            Storage                                                                                                           $                    175.00
            Sunpass and tolls                                                                                                 $                     90.00
            vitamins & supplements                                                                                            $                     40.00
            Wife's medical expenses (no insurance)                                                                            $                     45.00
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B6J (Official Form 6J) (12/07) - Cont.

 In re John Gunnar Thulin Lilian Clarisa Bertoli                                     ,                        Case No.
                                              Debtors                                                                              (If known)

              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                         $                  4,515.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
         a. Average monthly income from Line 15 of Schedule I                                                                 $                 4,524.74
         b. Average monthly expenses from Line 18 above                                                                       $                 4,515.00
         c. Monthly net income (a. minus b.)                                                                                  $                     9.74
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B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re John Gunnar Thulin            Lilian Clarisa Bertoli                           ,                                Case No.
                                                           Debtors                                                                       (If known)


                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        21
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 9/11/2012                                                                Signature: s/ John Gunnar Thulin
                                                                                           John Gunnar Thulin
                                                                                                                        Debtor

Date: 9/11/2012                                                                Signature: s/ Lilian Clarisa Bertoli
                                                                                           Lilian Clarisa Bertoli
                                                                                                               (Joint Debtor, if any)
                                                                              [If joint case, both spouses must sign]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
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B7 (Official Form 7) (4/10)


                                                  UNITED STATES BANKRUPTCY COURT
                                                       Southern District of Florida

In re:   John Gunnar Thulin      Lilian Clarisa Bertoli                                       Case No.
                                                                          ,
                                                     Debtors                                                     (If known)




                                          STATEMENT OF FINANCIAL AFFAIRS

          1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
          debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
          years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
          chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)
          AMOUNT                            SOURCE                                        FISCAL YEAR PERIOD

          65,613.00                        Adjusted gross income                          2010

          67,262.00                        Adjusted gross income                          2011

          2. Income other than from employment or operation of business
None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
          business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
          filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
          each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          AMOUNT                             SOURCE                                                               FISCAL YEAR PERIOD

          3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
          services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
          the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
          (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
          under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
          unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF                                  DATES OF                             AMOUNT                AMOUNT
          CREDITOR                                             PAYMENTS                             PAID                  STILL OWING
                         Case 12-31792-AJC              Doc 1      Filed 09/11/12        Page 31 of 43

                                                                                                                         2

None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
       days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that
       were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
       a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter
       13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF CREDITOR                    DATES OF                               AMOUNT                 AMOUNT
                                                        PAYMENTS/                              PAID OR                STILL
                                                        TRANSFERS                              VALUE OF               OWING
                                                                                               TRANSFERS




    *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.


None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
        benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments
        by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)
        NAME AND ADDRESS OF CREDITOR                    DATE OF                                 AMOUNT                AMOUNT
        AND RELATIONSHIP TO DEBTOR                      PAYMENT                                 PAID                  STILL OWING




        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding
        the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)
        CAPTION OF SUIT                                                       COURT OR AGENCY                       STATUS OR
        AND CASE NUMBER                     NATURE OF PROCEEDING              AND LOCATIO                           DISPOSITION
        Wells Fargo Bank NA v. John G       foreclosure                       11th Judicial Circuit                 FJ
        Thurlin                                                               Miami-Dade County
           2008-36040-CA-01
        Ocean Bank v. Raymond               mortgage foreclosire              11th Judicial Circuit                 FJ
        Freidheim and John Thulin                                             Miami-Dade County
           2008-28837 CA 01
        American Express v. John            breach of contract                11th Judicial Circuit                 FJ
        Thulin                                                                Miami-Dade County
           13-2005 CA 19880
        Wachovia Bank NA v. John            foreclosure                       Miami Dade County                     Pending
        Gunnar Thurlin                      600 NE 36 St , Unit 1404          11th Judicial Circuit
           2009-5904-CA 01


None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
     immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
     information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)
        NAME AND ADDRESS                                                                 DESCRIPTION
        OF PERSON FOR WHOSE                                   DATE OF                    AND VALUE OF
        BENEFIT PROPERTY WAS SEIZED                           SEIZURE                    PROPERTY
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                                                                                                                         3

       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
       foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                              DATE OF REPOSSESSION, DESCRIPTION
       NAME AND ADDRESS                                       FORECLOSURE SALE,              AND VALUE OF
       OF CREDITOR OR SELLER                                  TRANSFER OR RETURN             PROPERTY



       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                     DATE OF                       ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                    OR SETTLEMENT

None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)


                                                NAME AND ADDRESS                                           DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY

       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
       ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
       contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
       gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
       OF PERSON                                TO DEBTOR,                   DATE                          AND VALUE OF
       OR ORGANIZATION                          IF ANY                       OF GIFT                       GIFT

       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS
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                                                                                                                       4

       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
       one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                    DATE OF PAYMENT,               AMOUNT OF MONEY OR
       OF PAYEE                                            NAME OF PAYOR IF               DESCRIPTION AND VALUE
                                                           OTHER THAN DEBTOR              OF PROPERTY


       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
       debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                 DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                           TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                AND VALUE RECEIVED
       Felix R. Carrillo, Esq
                                                                                                 legal representation over
       Law Offices of Carrillo & Carrillo
                                                                                                 number of years
       3676 SW 2nd Street
                                                                                                 $3,000 +
       Miami, FL 33135
                                                                                                 from 2009 through 2011
          Attorney
       Michael Lascelle, Esq
                                                             03/01/2012                          $2,000.00 Legal Services:
       888 Brickell Key Dr., Apt 2701
                                                                                                 Defense of Wachovia Lawsuit
       Miami, FL 33131-2671
                                                                                                 and American Express -Writ of
          Attorney
                                                                                                 Garnishment


None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
       self-settled trust or similar device of which the debtor is a beneficiary.


       NAME OF TRUST OR OTHER                              DATE(S) OF                     AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                              TRANSFER(S)                    AND VALUE OF PROPERTY OR DEBTOR
                                                                                          INTEREST IN PROPERTY



       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
       sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
       savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
       credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                         TYPE OF ACCOUNT, LAST FOUR                 AMOUNT AND
       NAME AND ADDRESS                                  DIGITS OF ACCOUNT NUMBER,                  DATE OF SALE
       OF INSTITUTION                                    AND AMOUNT OF FINAL BALANCE                OR CLOSING
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                                                                                                                        5

       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)


       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                    DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                             OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITOR                CONTENTS                       IF ANY

       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                       DATE OF                    AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                    SETOFF                     SETOFF

       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.
       NAME AND ADDRESS                                       DESCRIPTION AND VALUE
       OF OWNER                                               OF PROPERTY                         LOCATION OF PROPERTY


       15. Prior address of debtor
None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
       debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
       any separate address of either spouse.

       ADDRESS                                                         NAME USED                             DATES OF OCCUPANCY

       6000 NE 36th Street, #1404                                     John / Lilian Thulin                    2009-2012
       Miami, FL 33137

       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.
       NAME
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                                                                                                                         6

       17. Environmental Information.
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
       a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
       that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
       date of the notice, and, if known, the Environmental Law.



       SITE NAME AND                              NAME AND ADDRESS                   DATE OF                   ENVIRONMENTAL
       ADDRESS                                    OF GOVERNMENTAL UNIT               NOTICE                    LAW


None   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
       Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.



       SITE NAME AND                        NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
       ADDRESS                              OF GOVERNMENTAL UNIT                 NOTICE                 LAW


None   c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.



       NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
       OF GOVERNMENTAL UNIT                                                                        DISPOSITION
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                                                                                                                         7

       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within the six years immediately preceding the commencement of this case,
       or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities, within the six years immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
       equity securities within the six years immediately preceding the commencement of this case.
                                 LAST FOUR DIGITS
                                 OF SOCIAL SECURITY ADDRESS                             NATURE OF
       NAME                      OR OTHER INDIVIDUAL                                                          BEGINNING AND ENDING
                                                                                        BUSINESS              DATES
                                 TAXPAYER-I.D. NO.
                                 (ITIN)/ COMPLETE EIN
       7871 Enterprise LLC                            1171 SE 10th Ave                  coach rental           04/02/2008
                                                      Hialeah, FL 33010
                                                                                                               09/25/2009
       Tango Entertainment       P03000075406              17476 Collins Ave. #110      services               07/09/2003
       Inc,                                                Sunny Isles Beach, FL
                                                                                                               10/01/2004
                                                           33130
       Travel By Bus! LLC        L08000042982              1171 SE 10 Ave               coach rentals          04/29/2008
                                                           Hialeah, FL 33010

                                                                                        company still
                                                                                        operating

None   b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
       U.S.C. § 101.


       NAME                                                                      ADDRESS
       19. Books, records and financial statements
None   a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept
       or supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                                          DATES SERVICES RENDERED
None   b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited
       the books of account and records, or prepared a financial statement of the debtor.

       NAME                       ADDRESS                                        DATES SERVICES RENDERED
None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account
       and records of the debtor. If any of the books of account and records are not available, explain.

       NAME                                                                 ADDRESS
None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

       NAME AND ADDRESS                                                DATE ISSUED
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                                                                                                                              8

       20. Inventories
None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
       taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                         DOLLAR AMOUNT OF INVENTORY
       DATE OF INVENTORY                INVENTORY SUPERVISOR                             (Specify cost, market or other
                                                                                         basis)


None   b. List the name and address of the person having possession of the records of each of the inventories reported
       in a., above.

                                                                         NAME AND ADDRESSES OF CUSTODIAN
       DATE OF INVENTORY                                                 OF INVENTORY RECORDS

       21. Current Partners, Officers, Directors and Shareholders
None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
       partnership.

       NAME AND ADDRESS                                        NATURE OF INTEREST                    PERCENTAGE OF INTEREST
None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or
       indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                     NATURE AND PERCENTAGE
       NAME AND ADDRESS                                        TITLE                                 OF STOCK OWNERSHIP



       22. Former partners, officers, directors and shareholders
None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
       preceding the commencement of this case.

       NAME                                      ADDRESS                                                  DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
       within one year immediately preceding the commencement of this case.

                                                               TITLE                                 DATE OF TERMINATION
       NAME AND ADDRESS
       23. Withdrawals from a partnership or distributions by a corporation
None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
       compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year
       immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                                AMOUNT OF MONEY
       OF RECIPIENT,                                          DATE AND PURPOSE                       OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                                 OF WITHDRAWAL                          AND VALUE OF PROPERTY




       24. Tax Consolidation Group.
None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
       consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                              TAXPAYER IDENTIFICATION NUMBER (EIN)
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                                                                                                                        9

       25. Pension Funds.
None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the
       debtor, as an employer, has been responsible for contributing at any time within six years immediately preceding the
       commencement of the case.

       NAME OF PENSION FUND                                             TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                * * * * * *
   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

   Date 9/11/2012                                         Signature      s/ John Gunnar Thulin
                                                          of Debtor      John Gunnar Thulin

   Date 9/11/2012                                         Signature       s/ Lilian Clarisa Bertoli
                                                          of Joint Debtor Lilian Clarisa Bertoli
                                                          (if any)
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B 8 (Official Form 8) (12/08)

                                   UNITED STATES BANKRUPTCY COURT
                                           Southern District of Florida

In re                 John Gunnar Thulin    Lilian Clarisa Bertoli           ,               Case No.
                                      Debtors                                                                 Chapter 7



        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured
by property of the estate. Attach additional pages if necessary.)

   Property No. 1

   Creditor's Name:                                                Describe Property Securing Debt:
   None



   Property will be (check one):
           Surrendered                          Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                          Not claimed as exempt



PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)


   Property No. 1

   Lessor's Name:                            Describe Leased Property:                         Lease will be Assumed pursuant
                                                                                               to 11 U.S.C. § 365(p)(2):
   None
                                                                                                   YES            NO



   0       continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my estate
securing a debt and/or personal property subject to an unexpired lease.



Date: 9/11/2012                                                    s/ John Gunnar Thulin
                                                                   John Gunnar Thulin
                                                                   Signature of Debtor

                                                                   s/ Lilian Clarisa Bertoli
                                                                   Lilian Clarisa Bertoli
                                                                   Signature of Joint Debtor (if any)
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          American Express
          P.O. Box 297812
          Fort Lauderdale, FL 33329-7812




          ARS Account Resolution
          1801 NW 66th Ave., Ste 200 C
          Plantation, FL 33313-4571




          AT & T
          P.O. Box 105262
          Atlanta, GA 30348-5262




          Bank of America
          P.O. Box 982235
          El Paso, TX 79998




          Borack & Associates P.A.
          630 N. Wymore Rd
          Suite 300
          Maitland, FL 32751


          Cach, LLC
          4340 S. Monaco, 2nd Fl
          Denver, CO 80237




          Capital Accounts LLC
          P.O. Box 140065
          Nashville, TN 37214-0065




          Carter Young Inc.
          1500 Klondike RD
          Suite A-210
          Conyers, GA 33094


          Cavalry Portfolio Services
          500 Summit Lake Drive
          Valhalla, NY 10585
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          Charter Club Condo Association
          c/o KW Property Management
          600 NE 36th Street
          Miami, FL 33137


          Comcast
          18601 NW 2nd Ave.
          Miami, FL 33169-4583




          Credit Protection
          P.O. Box 802068
          Dallas, TX 75380-2068




          Daniel E. Jonas, P.A. R.A.
          Charter Club Inc.
          P.O. Box 415107
          Miami Beach, FL 33141-5107


          Florida Defaulr Law Group, P.L.
          P.O. Box 25018
          Tampa. FL 33622-5018
          Att: Lindsey Lamb, Esq


          FMC - Omaha Service Ctr
          P.O. Box 542000
          Omaha, NE 68154-8000




          GECRB/ IKEA
          P.O. Boox 965005
          Orlando, FL 32896




          Harley Davidson Financial
          4150 Technology Way
          Carson City, NV 89706-2009




          HSBC Card Services
          P.O. Box 80084
          Salinas, CA 93912-0084
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          I.C. Systems Inc.
          444 Highway 96 E
          St. Paul, MN 55127-2557




          KW Property Management & Consulting
          8200 NW 33rd St
          Suite 300
          Doral, FL 33122


          Law Offices of David B. Haber PA
          201 S Biscaybe Blvd. Ste 1205
          Miami, FL 33131-4332




          Ocean Bank
          c/o Louis K. Nicholas, II Esq.
          Legal Department
          780 N.W. 42nd Ave. Suite 500
          Miami, FL 33135

          Roberto Williamann




          Roberto Willimann
          Raymond Friedheim




          Safe Hurricane Shutters Inc. DBA
          Advanced Hurricane Protection c/o
          Steven M. Rosen Esq.
          5601 Biscayne Blvd.
          Miami, FL 33137

          Scott E. Simowitz, Esq
          800 Corporate Dr. Ste 500
          Fort Lauderdale, FL 33334




          Wachovia Bank NA
          c/o Joe M. Eckelkamp, Esq
          P.O. Box 550858
          Jacksonville, FL 32255
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          Wells Fargo
          P.O. Box 10475
          Des Moines, IA 50306
